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                      EXHIBIT A
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

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                                                            :
                                                            :      Chapter 11
In re                                                       :
                                                            :      Case No. 09-10138 (KG)
Nortel Networks Inc., et al., 1                             :
                                                            :      Jointly Administered
                                    Debtors.                :
                                                            :
                                                                   RE: D.I. ______
                                                            :
 -----------------------------------------------------------X

                  ORDER (I) AUTHORIZING AND APPROVING
               THE FLEXTRONICS SETTLEMENT AND RELEASE
             AGREEMENT, (II) AUTHORIZING AND APPROVING THE
        RELATED SIDE AGREEMENT AND (III) GRANTING RELATED RELIEF

        Upon the motion dated November 24, 2009 (the “Motion”),2 of Nortel Networks Inc.

(“NNI”) and its affiliated debtors, as debtors and debtors in possession in the above-captioned

cases (the “Debtors”), for entry of an order, as more fully described in the Motion, pursuant to

sections 105 and 363 of title 11 of the United States Code (the “Bankruptcy Code”) and rule

9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”): (i) authorizing

and approving a settlement and release agreement (the “Settlement and Release Agreement”),

attached thereto as Exhibit B, by and among (a) Flextronics Corporation (“FC”), Flextronics

Telecom Systems Ltd. (“FTS”) and certain affiliates of FC and FTS that are signatories thereto,

on behalf of themselves and their respective affiliates (collectively, “Flextronics”), (b) the
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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found in the
Debtors’ petitions, which are available at http://chapter11.epiqsystems.com/nortel.
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        Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.
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Canadian Debtors, (c) the Debtors, (d) Nortel Networks B.V., Nortel Networks (Ireland)

Limited, Nortel Networks Hispania, S.A., and Nortel Networks UK Ltd. (collectively, the

“EMEA Entities”), and (e) the joint administrators acting on behalf of the EMEA Entities (the

“EMEA Entities’ Joint Administrators”); (ii) authorizing and approving the related side

agreement (the “Side Agreement”), attached thereto as Exhibit C, by and among (a) the Canadian

Debtors, (b) the Debtors, (c) the EMEA Entities, and (d) the EMEA Entities’ Joint

Administrators; and (iii) granting them such other and further relief as the Court deems just and

proper; and adequate notice of the Motion having been given as set forth in the Motion; and it

appearing that no other or further notice is necessary; and the Court having jurisdiction to

consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and

the Court having determined that consideration of the Motion is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); and the Court having determined that the legal and factual bases set forth in

the Motion establish just cause for the relief requested in the Motion, and that such relief is in the

best interests of the Debtors, their estates, their creditors and the parties in interest; and upon the

record in these proceedings; and after due deliberation;

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED.

        2.      The Settlement and Release Agreement and Side Agreement are approved in their

entirety.

        3.      The Debtors are authorized, but not directed, pursuant to sections 105 and 363 of

the Bankruptcy Code and Bankruptcy Rule 9019, to take any and all action that may be

reasonably necessary or appropriate to perform their obligations arising under the Settlement and

Release Agreement and Side Agreement.



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       4.      NNI is authorized to pay to Flextronics the Payment Obligation (as defined in

Schedule B to Settlement and Release Agreement) as an administrative expense pursuant to

sections 503(b) and 363 of the Bankruptcy Code, in accordance with the terms and conditions of

the Settlement and Release Agreement.

       5.      NNI is authorized to establish a segregated account solely for the purpose of

funding the payments due to Flextronics under the Settlement and Release Agreement

       6.      Pursuant to Bankruptcy Rule 9019, the Settlement and Release Agreement

constitutes a full and final settlement of the Nortel Released Claims (as defined in the Settlement

and Release Agreement) and the Flextronics Released Claims (as defined in the Settlement and

Release Agreement).

       7.      The failure to specifically describe or include any particular provision of the

Settlement and Release Agreement or Side Agreement in this Order shall not diminish or impair

the effectiveness of such a provisions, it being the intent of this Court that the Settlement and

Release Agreement and Side Agreement be approved in their entirety.

       8.      Notwithstanding any provision in the Federal Rules of Bankruptcy Procedure to

the contrary, (i) the terms of this Order shall be immediately effective and enforceable upon its

entry, (ii) the Debtors are not subject to any stay in the implementation, enforcement or

realization of the relief granted in this Order, and (iii) the Debtors may, in their discretion and

without further delay, take any action and perform any act authorized under this Order.

       9.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dated: _______________, 2009
       Wilmington, Delaware                           _____________________________________
                                                      THE HONORABLE KEVIN GROSS
                                                      UNITED STATES BANKRUPTCY JUDGE


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